Case 2:21-bk-16674-ER       Doc 191 Filed 04/25/22 Entered 04/25/22 08:09:41                    Desc
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                                                                     FILED & ENTERED

                                                                           APR 25 2022

                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
                                                                      BY gonzalez DEPUTY CLERK




              UNITED STATES BANKRUPTCY COURT
     CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
 In re:     Jinzheng Group (USA) LLC,             Case No.: 2:21-bk-16674-ER
            Debtor.                               Chapter: 11
                                                  ORDER DISALLOWING CLAIM NO. 13-
                                                  1, ASSERTED BY CRAIG FRY AND
                                                  ASSOCIATES
                                                  [RELATES TO DOC. NO. 110]

                                                  Date:       March 30, 2022
                                                  Time:       10:00 a.m.
                                                  Location:   Courtroom 1568
                                                              Roybal Federal Building
                                                              255 East Temple Street
                                                              Los Angeles, CA 90012

    At the above-captioned date and time, the Court conducted a hearing on the Objection to
Proof of Claim No. 13 of Craig Fry and Associates [Doc. No. 110] (the “Claim Objection”) filed
by the Debtor. Good cause appearing therefor, the Court HEREBY ORDERS AS FOLLOWS:

   1) The tentative ruling [Doc. No. 171] is adopted as the final ruling (the “Ruling”) and is
      incorporated herein by reference. The findings supporting the entry of this Order are set
      forth in the Ruling.
   2) The Claim Objection is SUSTAINED. Claim No. 13-1, asserted by Craig Fry and
      Associates, is DISALLOWED IN ITS ENTIRETY.
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   IT IS SO ORDERED.
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    Date: April 25, 2022
